Case 1:21-cr-00399-RDM Document 258-1 Filed 02/27/24 Page 1 of 45




                     Exhibit A
DocuSign Envelope ID: 9E4BA6A9-6F53-4415-BBD1-A6A3B2558124
                    Case
                     Case1:21-cr-00399-RDM
                           1:21-cr-00399-RDM Document
                                              Document258-1
                                                       158 Filed
                                                            Filed 08/07/23
                                                                  02/27/24 Page
                                                                           Page 12 of
                                                                                   of 245




                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

           UNITED STATES OF AMERICA

                        Plaintiff,
           v.                                                          No. 21-cr-399 (RDM)

           ROMAN STERLINGOV

                        Defendant.


                SUPPLEMENTAL EXPERT DISCLOSURE FOR DEFENSE EXPERT J.W. VERRET


                    This filing supplements Prof. Verret’s initial expert disclosure filed at docket number
            145. In addition, attached is a slide summary and chart that will help the jury understand
            Professor Verret’s proposed testimony. Attached as Exhibits A and B.

                   Professor Verret relies on the following publications in forming his expert opinion in
            addition to those previously disclosed in his initial expert disclosure.

                     1.      Gong, Y., Chow, K.P., Ting, H.F. and Yiu, S.M., 2022. Analyzing the Error Rates
                     of Bitcoin Clustering Heuristics. In Advances in Digital Forensics XVIII (pp. 187-205).
                     Springer, Cham.

                     (The paper describes a simulation model for validating heuristic-based address clustering
                     algorithms and obtaining the corresponding error rates. The evaluation results
                     demonstrate that the model can simulate real-world transactions. Two heuristics, multi-
                     input and one-time change, are applied. The multi-input and one-time change heuristics
                     yield average error rates of 63.46% and 92.66%, respectively. The application of both
                     heuristics yields the lowest average error rate of 57.47%.)

                     2.      C. Alden Pelker et al, Using Blockchain Analysis from Investigation to Trial, 69
                     Dep't Just. J. Fed. L. and Prac. 59, 62 (May 2021), available at
                     https://www.justice.gov/usao/page/file/1403671/download.

                     3.    Sarah Meiklejohn, The Limits of Anonymity in Bitcoin, in Routledge Handbook of
                     Criminal Science (Richard Wortley et al, eds., 2018) at 285.

                     4.      “Introduction to Bitcoin Heuristics,” CryptoQuant, July 30, 2019,
                     https://medium.com/cryptoquant/introduction-to-bitcoin-heuristics-487c298fb95b.)

                     5.     Criminal Law Bulletin. Jason Luu and Edward Imwinkelried, The Challenge of
                     Bitcoin Pseudo-Anonymity To Computer Forensics, 52 Crim. L. Bull. 191 (2016).


                                                             1
DocuSign Envelope ID: 9E4BA6A9-6F53-4415-BBD1-A6A3B2558124
                    Case
                     Case1:21-cr-00399-RDM
                           1:21-cr-00399-RDM Document
                                              Document258-1
                                                       158 Filed
                                                            Filed 08/07/23
                                                                  02/27/24 Page
                                                                           Page 23 of
                                                                                   of 245




                     6.      Malte Möser and Arvind Narayanan, Resurrecting Address Clustering in Bitcoin,
                     ArXivabs/2107.05749 (2021), at 1-20, available at https://arxiv.org/abs/2107.05749, an
                     article which notably mentions the lack of ground truth data in testing the effectiveness of
                     blockchain tracing.

                     7.      Yousaf et al, Tracing Transactions Across Cryptocurrency Ledgers, Proceedings
                     of the 28th USENIX Security Symposium (Aug. 2019) at 3-6, available at
                     https://www.usenix.org/system/files/sec19-yousaf_0.pdf.

                     8.     Arianna Trozze et al, Cryptocurrencies and future financial crime, 11 Crime
                     Science, 1-35 (2022)

                     9.    Natkamon Tovanich et al, Visualization of Blockchain Data: A Systematic
                     Review, 27 IEEE Transactions on Visualization and Computer Graphics, 3135 (July
                     2021)

                     10.     Douglas A. Orr, Bitcoin Investigations: Evolving Methodologies and Case
                     Studies, 9 J. Forensic Rsch, at 6 (May 2018), available at
                     https://www.hilarispublisher.com/open-access/bitcoin-investigations-evolving-
                     methodologies-and-case-studies-2157-7145-1000420.pdf.




            Witness Attestation

             I, J.W. Verret, have reviewed and approve the contents of this filing.


            ____________________                                           08/07/2023
            J.W. Verret




                                                              2
Case 1:21-cr-00399-RDM Document 258-1
                                158-1 Filed 02/27/24
                                            08/07/23 Page 4
                                                          1 of 45
                                                               40




                   Exhibit ‘A’
         Case 1:21-cr-00399-RDM Document 258-1
                                         158-1 Filed 02/27/24
                                                     08/07/23 Page 5
                                                                   2 of 45
                                                                        40




BITCOIN & CRYPTO
FINANCIAL FORENSICS
PROFESSOR J.W. VERRET, JD, CPA/CFF, CFE, CVA

ASSOCIATE PROFESSOR, GEORGE MASON UNIVERSITY SCHOOL OF LAW
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 6
                                                                             3 of 45
                                                                                  40




SAME FORENSIC PRINCIPLES APPLIED TO NEW
ASSETS
• Standards of Forensic Accounting (for holders of the CPA/CFF certification)
        Statement on Standards for Forensic Services No. 1 (including due professional
        care, sufficient relevant data, integrity and objectivity)


• Standards of Fraud Examination (for holders of the CFE certification)
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 7
                                                                              4 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Financial Forensic standard tools available include:
    • Net Worth/Income Indirect Analysis
    • Presence of Unexplained Assets
    • Correlation/Pattern Analysis
    • Money Laundering Habits/Typology
    • Crypto Privacy Behavior Patterns
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 8
                                                                             5 of 45
                                                                                  40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Note on Blockchain Tracing for purposes of this question:
Mr. Sterlingov has been open about the fact that, like many users, he used Bitcoin Fog for
personal privacy. To the extent the government presents evidence using tracing, skepticism
about those tools presented in evaluating Claim II below applies here in Claim I regarding
issues with their reliability and error rate.
The government has not shown exactly how many bitcoin they believe were the total Mr.
Sterlingov mixed through Bitcoin Fog, but 1600 BTC is roughly the estimate implied by the
Scholl Report.
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 9
                                                                             6 of 45
                                                                                  40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
Note on Blockchain Tracing for purposes of this question (continued)
High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl
Report.
Using the 1600 BTC estimate of total mixed funds for the sake of discussion does not grant
legitimacy to the use of the government’s Chainalysis tracing tools in this respect or to the
government’s totals. I only give weight to admissions by Mr. Sterlingov that, like other
Bitcoiners, he used Bitcoin Fog for privacy.
                    Case
                    Case1:21-cr-00399-RDM
                         1:21-cr-00399-RDM Document
                                           Document258-1
                                                    158-1 Filed
                                                          Filed02/27/24
                                                                08/07/23 Page
                                                                         Page10
                                                                              7 of
                                                                                of40
                                                                                   45




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Early Bitcoin buyers and adopters experienced incredible returns and obtained Bitcoin
  partly outside the documented financial system in peer-to-peer exchanges or personal
  Bitcoin mining (it was certainly easier for individuals to successfully mine in 2010 and
  2011).
• Mr. Sterlingov’s Bitcoin activity began 12-13 years ago, when extraordinary returns make
  subsequent forensic tracing difficult, particularly for bitcoiners with off-exchange activity.
         Case
         Case1:21-cr-00399-RDM
              1:21-cr-00399-RDM Document
                                Document258-1
                                         158-1 Filed
                                               Filed02/27/24
                                                     08/07/23 Page
                                                              Page11
                                                                   8 of
                                                                     of40
                                                                        45




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
                   Case
                   Case1:21-cr-00399-RDM
                        1:21-cr-00399-RDM Document
                                          Document258-1
                                                   158-1 Filed
                                                         Filed02/27/24
                                                               08/07/23 Page
                                                                        Page12
                                                                             9 of
                                                                               of40
                                                                                  45




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• As a Certified Public Accountant also Certified in Financial Forensics and as a Certified
  Fraud Examiner, I am required to consider alternative explanations by CFF and CFE
  standards.
• A sense of the state of Bitcoin and the Bitcoin community in 2010, when Mr. Sterlingov
  first started buying and receiving Bitcoin, is demonstrated by Bitcoin Pizza Day.
• On May 22, 2010, an individual paid 10,000 Bitcoin in exchange for 2 pizzas. Those 10,000
  Bitcoin would be worth roughly $300,000,000 ($300 million) today. That was the first
  time Bitcoin was used in a commercial transaction and is remembered by Bitcoiners as
  Bitcoin Pizza Day.
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 13
                                                                              10 of 45
                                                                                    40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• An individual with Mr. Sterlingov’s assets and salary would be able to easily afford 1,600
  Bitcoin in 2010 (assuming govt’s implied assertion that roughly 1600 BTC is the correct
  total for Bitcoin belonging to Mr. Sterlingov that utilized the Bitcoin Fog privacy tool) and
  early 2011 when the price was as low as $.40 cents for an extended period, much lower
  at times, and otherwise under a dollar for the first quarter of 2011.
  (https://www.forbes.com/advisor/investing/cryptocurrency/bitcoin-price-history/)
                  Case 1:21-cr-00399-RDM Document 258-1
                                                  158-1 Filed 02/27/24
                                                              08/07/23 Page 14
                                                                            11 of 45
                                                                                  40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• He could have reasonably received 1600 bitcoin as hobbyist transfers at early meetups in
  2010 and 2011 for free.


• High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl
  Report.
                     Case 1:21-cr-00399-RDM Document 258-1
                                                     158-1 Filed 02/27/24
                                                                 08/07/23 Page 15
                                                                               12 of 45
                                                                                     40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Sterlingov’s trading patterns (buying historic lows, selling historic highs) could have magnified
  his early Bitcoin appreciation for any pattern inference, particularly since it appears to have
  been mostly off-exchange.
• High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl
  Report.
• All information in the government’s evidence is consistent with Sterlingov purchasing all the
  Bitcoin he owns with his salary and/or his Bitcoin and later crypto trading profits. It is also
  consistent with his Bitcoin holdings resulting in large part from the receipt of hobbyist
  transfers early in Bitcoin’s history.
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 16
                                                                              13 of 45
                                                                                    40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• Sterlingov’s financial records do not fit the patterns of money laundering for three
  reasons….


• Reason 1
    • sending post-mix tokens from a privacy tool like Bitcoin Fog back to a KYC-complaint venue
      like Kraken would put the real operator of Bitcoin Fog at risk of prosecution, yet the author
      of bitcoinfog.com is clearly expert in privacy tools and tactics
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 17
                                                                              14 of 45
                                                                                    40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• Sterlingov’s financial records do not fit the patterns of money laundering for three
  reasons….
• Reason 2
• The true operator of Bitcoin Fog would have earned $600,000,000 ($600 Million) worth
  of Bitcoin in today’s value, or an amount of fees valued at $1,400,000,000 ($1.4 Billion) at
  Bitcoin’s highest historical price. There is no sign of wealth of that scale in Mr. Sterlingov’s
  financial history. Where did it go?
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 18
                                                                             15 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• Sterlingov’s financial records do not fit the patterns of money laundering for three
  reasons….
• Reason 3
• No evidence that Sterlingov’s Malta ”To The Moon VPN” company, that accepted bitcoin
  from a prospective user base of private VPN customers, was used for the integration
  stage of classic money laundering. Nothing found on the company’s servers or in its
  financial records indicates it was used for that purpose.
                  Case 1:21-cr-00399-RDM Document 258-1
                                                  158-1 Filed 02/27/24
                                                              08/07/23 Page 19
                                                                            16 of 45
                                                                                  40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• THE MISSING BITCOIN
• It seems from the Scholl Report that the subtotal of funds the government alleges was
  the total amount of Bitcoin that Mr. Sterlingov used the Bitcoin Fog privacy tool for
  appears to be approximately 1600 BTC. (this total wasn’t given to us by the government,
  I had to guess at what they would allege)
• High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl
  Report.
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 20
                                                                             17 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• The prosecution alleges that funds received to Mr. Sterlingov’s cryptocurrency exchange
  accounts are “proceeds” from Bitcoin Fog, implying that these deposits are from the
  operation of the service.
• The government’s evidence provides no evidence linking those funds to the operation of
  Bitcoin Fog, all the evidence I have reviewed indicated that accusation by the government
  is nothing but speculation.
                     Case 1:21-cr-00399-RDM Document 258-1
                                                     158-1 Filed 02/27/24
                                                                 08/07/23 Page 21
                                                                               18 of 45
                                                                                     40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• The government appears to presume that merely using Bitcoin Fog to protect personal
  privacy is illicit. This is not so, as a pretrial ruling by the Court in this action has previously
  described.
• It would not be clear to an everyday user of Bitcoin Fog that simply using the Bitcoin Fog
  tool is somehow illicit.
• Reports by Chainalysis and by international government banking and economic regulators
  and by the United Nations indicate that the rate of illicit funds sent through bitcoin
  mixers is similar to the rate of illicit money laundering that regularly takes place in
  traditional banks.
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 22
                                                                             19 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• An evaluation of the total “proceeds” that could have been expected to accrue to the
  administrator of Bitcoin Fog over the lifetime of operating the service is summarized
  below. On page 2 of the Statement of Facts, the prosecution states that Bitcoin Fog
  processed “over 1.2 million BTC.”
• Applying a 2% service fee, as discussed by the prosecution on page 11 of the Statement
  of Facts, the expected proceeds are as followed on the next slides. (Real world proceeds
  of Bitcoin Fog to its operator may be higher, toward a 3% fee, which would magnify the
  mystery of the missing bitcoin)
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 23
                                                                             20 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• When including the total BTC directly or indirectly received by Sterlingov from Bitcoin
  Fog and the remaining BTC in the broader Bitcoin Fog cluster, the prosecution has failed
  to account for over $600,000,000 ($600 Million) in current value of Bitcoin that
  the administrator of Bitcoin Fog should have received.


• This valuation stretches to $1,400,000,000 ($1.4 Billion) at the height of
  Bitcoin’s market value.
                  Case 1:21-cr-00399-RDM Document 258-1
                                                  158-1 Filed 02/27/24
                                                              08/07/23 Page 24
                                                                            21 of 45
                                                                                  40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• The MISSING BITCOIN in this case amounts to over 21,000 BTC, which is 13X
  more than the amount that has been alleged by the government to have been received by
  Sterlingov from addresses linked to Bitcoin Fog.
• That is $600,000,000 ($600 Million) to $1,400,000,000 ($1.4 billion) US dollars that is
  MISSING from the government’s case in value depending on when you historically apply a
  value to the MISSING BITCOIN.
                      Case 1:21-cr-00399-RDM Document 258-1
                                                      158-1 Filed 02/27/24
                                                                  08/07/23 Page 25
                                                                                22 of 45
                                                                                      40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• Bitcoin Fog Operations Proceeds Accounting
• BTC Processed by Fog alleged by Government           1,200,000 BTC
• Fee Rate Estimate 2.0% (conservative, could stretch to 3%)
• Total Fees Received By Operator          24,000 BTC (conservative, may stretch toward 36,000 BTC)
• Govt Est. of Sterlingov Bitcoin Sourced From Bitcoin Fog        1600.36 BTC
• Approximate BTC Remaining in the Bitcoin Fog Cluster            1305.47 BTC
• “Proceeds” Unaccounted For          21,094.17 BTC (worth $632 million in todays dollars,
  worth $1.4 Billion at Bitcoin’s price peak in 2021)
                      Case 1:21-cr-00399-RDM Document 258-1
                                                      158-1 Filed 02/27/24
                                                                  08/07/23 Page 26
                                                                                23 of 45
                                                                                      40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES?
• Conclusions From Bitcoin Fog Transaction Fee Accounting
• Despite claims that they completed a thorough accounting of the activity of Bitcoin Fog and the activity
  of Sterlingov’s deposits to his cryptocurrency exchange accounts, the prosecution falls short of the
  expected proceeds of the operator of Bitcoin Fog by an order of magnitude of conservatively 13
  times the amount of Bitcoin that the prosecution can show Mr. Sterlingov ever possessed, and perhaps
  the prosecution misses on a much higher magnitude.
• In my opinion, the deposit profile and activity of Sterlingov’s cryptocurrency exchange
  accounts are not indicative of having been anything more than an early adopter of
  cryptocurrency and user of the Bitcoin Fog service in an effort to maintain his privacy.
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 27
                                                                             24 of 45
                                                                                   40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Usage of Bitcoin Fog to mix Bitcoin does not necessarily indicate illicit activity, large
  Bitcoin holders are at increased risk of kidnapping, surveillance, privacy violations, as DOJ
  prosecutions demonstrate
• Privacy is important in the Bitcoin community
• Bitcoin Privacy Tools are used by citizens in oppressive regimes around the world to
  avoid government surveillance and human rights abuses
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 28
                                                                              25 of 45
                                                                                    40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Pattern/Correlation Analysis
    • Insufficient evidence to establish a pattern or correlation between Bitcoin Fog operator’s
      transaction fees and Mr. Sterlingov’s Bitcoin activity, due to the size difference between them.


    • Bitcoin Fog’s fees are 13 TIMES larger than Sterlingov’s cumulative Bitcoin holdings that have
      gone through Bitcoin Fog as alleged by the government.
                     Case 1:21-cr-00399-RDM Document 258-1
                                                     158-1 Filed 02/27/24
                                                                 08/07/23 Page 29
                                                                               26 of 45
                                                                                     40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Pattern/Correlation Analysis Continued…
    • Indications of off exchange Bitcoin activity by Sterlingov not in government’s evidence suggest
      early Bitcoin purchases simply moved through Bitcoin Fog
    • High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl Report.
    • To the extent a pattern is discernible, Mr. Sterlingov’s Bitcoin activity began in the early 2010-
      2011 period where magnitude price appreciation is extraordinary (exponential), while Bitcoin
      Fog transaction activity didn’t peak until 2012-2013 and later gain momentum
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 30
                                                                              27 of 45
                                                                                    40




EVALUATING CLAIM 1: DID STERLINGOV RECEIVE
BITCOIN FOG FEES
• Net worth/Net Income Analysis
    • Useful to find hidden assets or sources of income (though does not indicate whether illicit)
    • Insufficient evidence for government net worth/net income analysis typical in money
      laundering forensics
    • High Risk of DOUBLE COUNTING of total Bitcoin owned by Sterlingov in the Scholl Report.
    • No credible indication of unexplained real-world wealth, particularly on the necessary
      scale of $600 Million to $1.4 Billion
                     Case 1:21-cr-00399-RDM Document 258-1
                                                     158-1 Filed 02/27/24
                                                                 08/07/23 Page 31
                                                                               28 of 45
                                                                                     40




RESULTS FOR CLAIM I: DID STERLINGOV RECEIVE
BITCOIN FOG FEES? NO INDICATION HE DID
• No indication Sterlingov received Bitcoin Fog Fees for 7 reasons
    • Insufficient evidence for Net Worth/Net Income Indirect Analysis
    • Lack of Substantial Unexplained Assets (Relative to Bitcoin Fog total fees at one point valued at
      over $1.4 BILLION, presently valued at $600 MILLION)
    • Lack of Pattern Correlation Between BTC Fog fees and Sterlingov Bitcoin activity
    • Sterlingov’s early bitcoin wealth explainable
    • Use of privacy tool explainable
    • Doesn’t fit money laundering pattern, To The Moon LLC wasn’t used for integration of laundered
      funds, why not? To the Moon LLC appears to instead simply be a failed business venture
    • Sending post-mix tokens to Kraken account out of character for level of privacy skill of
      BitcoinFog.com operator
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 32
                                                                              29 of 45
                                                                                    40




CRYPTO FINANCIAL FORENSIC INQUIRY FOCUS
MOVES TO THE SECOND CLAIM
After analyzing whether Mr. Sterlingov received fees from Bitcoin Fog, the second part of
my inquiry moves to whether Chainalysis’ tracing can be relied upon to attribute
ownership of Bitcoin at an address, including at an address in a chain of transactions alleged
to be self-transfers, to Mr. Sterlingov.


My perspective before joining this case was that blockchain tracing of the type used by
Chainalysis was useful for the initial stages of financial forensic investigations to generate
leads. I understood however that it was alone insufficient to attribute ownership of crypto
like Bitcoin to an individual. My perspective is supported in the prior literature.
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 33
                                                                              30 of 45
                                                                                    40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS


• High error rate in blockchain tracing tools suggested in literature, the error rate is itself
  highly variable owing to fact that the literature is very new
• “Two heuristics, multi-input and one-time change, are applied. The multi-input and one-
  time change heuristics yield average error rates of 63.46% and 92.66%, respectively. The
  application of both heuristics yields the lowest average error rate of 57.47%.” Gong et al
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 34
                                                                              31 of 45
                                                                                    40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS
• ”Tracers in The Dark”, a book about many of the DOJ and Treasury employees who
  contributed to this investigation, describes Prof. Sara Meiklejohn’s early work as the
  foundation for Chainalysis’ tools, and her work has been cited by government experts.
• “Gronager, affable as always, told Meiklejohn that his tiny company, Chainalysis, was looking for
  talent and asked her if she might be interested in becoming the “head of something or other,”
  as she remembers it. He showed her a demo of Reactor; she was impressed with how
  Gronager had managed to refine and scale up her group’s techniques, assembling a vast
  collection of known Bitcoin clusters and integrating several of the ideas she’d first
  demonstrated into a powerful and highly responsive tool.” Tracers in the Dark at p. 402.
                Case 1:21-cr-00399-RDM Document 258-1
                                                158-1 Filed 02/27/24
                                                            08/07/23 Page 35
                                                                          32 of 45
                                                                                40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS
    Meiklejohn in 2022 presenting the paper offered into disclosure by Ms. Bisbee: “[In a description
    of clustering heuristics] The heuristic as I’ve just described it is horribly unsafe. You would like
    collapse probably everything together at this point in bitcoin’s evolution, this on its own is
    extremely unsafe, you can make a lot of modifications and adjustments…”
    “[about her new heuristic described in the 2022 paper disclosed by the government’s expert] it
    wasn’t possible to run our heuristic in 2013….
    “If you get that wrong, it’s like a huge clustering error…that one time deposit address that you
    might have mistakenly mislabeled as a change address might get used with like 50 other addresses
    at the same time.”
    See Sarah Meiklejohn, De-Anonymization in Bitcoin with Sarah Meiklejohn | a16z crypto research
    talks, https://youtu.be/slZgOwXt2jM.
                            Case 1:21-cr-00399-RDM Document 258-1
                                                            158-1 Filed 02/27/24
                                                                        08/07/23 Page 36
                                                                                      33 of 45
                                                                                            40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS
• Blockchain Tracing Tools Useful For Leads To Focus Investigations, But Real-World Evidence Required To Attribute Ownership
  of Illicit Funds: just a core accepted position in every crypto training I have received as a CPA/CFF, also happens to have been
  written about by attorneys who have authored leading work in crypto forensics who I previously cited in my own book on
  crypto forensics and privacy before joining this case:
• "In addition to using blockchain analysis for pure lead purposes, it can also be used in search and seizure warrants. Similar to
  instances where blockchain analysis leads to a subpoena or a Financial Crimes Enforcement Network database query at the
  initiation of an investigation, its use in warrants is often an intermediate step used to justify searching a subject’s residence,
  digital devices, or other location- however with the understanding that the fruits of that search (such as drug
  paraphernalia, child pornography, incriminating text messages, etc.) will provide the primary evidence of the subject’s guilt
  at trial, rather than the blockchain analysis.”
• See C. Alden Pelker, Christopher B. Brown, & Richard M. Tucker, Using Blockchain Analysis From Investigation to Trial , 66 DOJ
  Journal of Federal Law and Practice May 2021, available at https://www.justice.gov/media/1169626/dl?inline.
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 37
                                                                              34 of 45
                                                                                    40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS
• Emphasis on this portion from the article quoted in the last slide:
• "however with the understanding that the fruits of that search (such as drug
  paraphernalia, child pornography, incriminating text messages, etc.) will provide the primary
  evidence of the subject’s guilt at trial, rather than the blockchain analysis.”
• See C. Alden Pelker, Christopher B. Brown, & Richard M. Tucker, Using Blockchain Analysis
  From Investigation to Trial , 66 DOJ Journal of Federal Law and Practice May 2021, available at
  https://www.justice.gov/media/1169626/dl?inline.
• To Be Clear: I HAVE FOUND NO SUCH EVIDENCE PRESENTED IN THIS CASE LINKING
  MR. STERLINGOV TO THE PURCHASE OF THE BITCOIN FOG DOMAIN OR TO BTC
  FOG FEE PROCEEDS
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 38
                                                                             35 of 45
                                                                                   40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS

• Coinjoin and payjoin activity confounds heuristics behind Chainalysis tracing


• The first equal-amount coinjoins that can be observed on-chain were likely 2013 and
  equal-amount coinjoins became more common in 2014/2015 (dark wallet + joinmarket).
                     Case 1:21-cr-00399-RDM Document 258-1
                                                     158-1 Filed 02/27/24
                                                                 08/07/23 Page 39
                                                                               36 of 45
                                                                                     40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS

• Payjoin activity, which was possible and highlighted even earlier in Bitcoin’s history than equal-
  amount coinjoins, more strongly confounds heuristics behind Chainalysis tracing
• Payjoins were used in the wild before equal-amount coinjoins. A feature introduced by
  MTGox facilitated payjoins out of that platform early in its history. Meiklejon has indicated in
  prior literature that one of the assumptions behind her description of exchange data as
  “ground truth” is that exchanges don’t allow coinjoins or payjoins, but that wasn’t true for Mt.
  Gox.
• If Mt Gox errors from this phenomenon have been controlled for within the Chainalysis black
  box, we need to know precisely how and have an opportunity to test the source code there.
                      Case 1:21-cr-00399-RDM Document 258-1
                                                      158-1 Filed 02/27/24
                                                                  08/07/23 Page 40
                                                                                37 of 45
                                                                                      40




EVALUATING CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS
• Are the Mt. Gox records reliable for purposes of a financial forensic examination or analysis?
• Karpeles description of state of records on Up Only podcast suggests Mt Gox not credible
• Evidence Mt. Gox Hacked repeatedly suggests Mt Gox not credible
• Prior Conviction of Karpeles suggests Mt Gox not credible
• Hacker Behavior Pattern in Using Login Credentials for Illicit Activity suggests Mt Gox not credible
• Mt. Gox “coinjoin mess” issue is problem for post-Mt Gox forensics. We need to see every detail in how
  Chainalysis attempted to control for it and any “dry holes” or abandoned investigative focus in their
  efforts to ensure no bias was present. suggests Mt Gox not credible
• Determination: Mt. Gox Records Not Reliable For Crypto Attribution
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 41
                                                                             38 of 45
                                                                                   40




RESULTS FOR CLAIM II: CAN BLOCKCHAIN TRACING
ATTRIBUTE PROPERTY OWNERSHIP IN ILLICIT FUNDS?

• No, it is insufficiently reliable for that purpose.
• Blockchain tracing can be used to generate leads in investigations. But only ground truth
  data like possession of private keys, possession of server logs, or reliable evidence from a
  “KYC” platform can attribute illicit crypto ownership to an individual
• No such evidence exists in this case to tie Mr. Sterlingov to operation of Bitcoin Fog
• The only potential ground truth evidence was Mt. Gox, but it is both unreliable, and even
  if reliable does not solve problems with property attribution following transfers between
  Mt. Gox and Liberty Reserve.
                   Case 1:21-cr-00399-RDM Document 258-1
                                                   158-1 Filed 02/27/24
                                                               08/07/23 Page 42
                                                                             39 of 45
                                                                                   40




CLAIM III: WAS THE GOVERNMENT’S DESCRIPTION
OF “BETA TRANSACTIONS” ACCURATE
• Legitimate alternative explanation in that early bitcoin paper wallet users and laptop
  wallet users were highly concerned about wallet security and reliability, and thus
  conducted test transactions for new wallet use and for onboarding new users.
• Subsequent transfers to Bitcoin Fog reflect that Bitcoin Fog was known on Bitcointalk
  forum as a new privacy tool
• Professional Determination: Unclear and Unsubstantiated Allegation
                    Case 1:21-cr-00399-RDM Document 258-1
                                                    158-1 Filed 02/27/24
                                                                08/07/23 Page 43
                                                                              40 of 45
                                                                                    40




FINANCIAL FORENSIC FINDINGS:

• Through Application of the Standards of Forensic Accounting and Fraud Examination (or
  generally, the standards of financial forensics):
• My professional findings are that there is:
• No evidence at all presented by the government that Mr. Sterlingov received fees from Bitcoin
  Fog
• No reliable evidence linking Mr. Sterlingov to the purchase of the bitcoinfog.com clearnet
  domain
• No reliable evidence that what the government describes as “beta test” transactions were not
  harmless bitcoin wallet reliability testing
Case
 Case1:21-cr-00399-RDM
      1:21-cr-00399-RDM Document
                         Document258-1
                                  158-2 Filed
                                         Filed02/27/24
                                               08/07/23 Page
                                                         Page44
                                                              1 of 2
                                                                   45




                Exhibit ‘B’
         Case
          Case1:21-cr-00399-RDM
               1:21-cr-00399-RDM Document
                                  Document258-1
                                           158-2 Filed
                                                  Filed02/27/24
                                                        08/07/23 Page
                                                                  Page45
                                                                       2 of 2
                                                                            45


Bitcoin History Closing Price Cumulative % Return Multiple Increase  # Bitcoin That
                Beg. Of Month To Present Day      How many X it grew $1,000 Bought
                (in US Dollars)                   From Day 1

        Jul-10       0.0055       554690809.09%                   1   181818.1818
       Jan-11         0.292        10447845.21%         53.09090909   3424.657534
        Jul-11          16.1         189390.68%         2927.272727   62.11180124
       Jan-12           4.72         646255.93%         858.1818182   211.8644068
        Jul-12          6.69         455923.92%         1216.363636   149.4768311
       Jan-13           13.5         225885.19%         2454.545455   74.07407407
        Jul-13            89          34178.65%         16181.81818   11.23595506
       Jan-14           732            4067.76%         133090.9091   1.366120219
        Jul-14          644            4637.27%         117090.9091   1.552795031
       Jan-15           321            9404.05%         58363.63636   3.115264798
        Jul-15          262           11544.27%         47636.36364   3.816793893
       Jan-16           430            6994.88%         78181.81818   2.325581395
        Jul-16          667            4473.91%         121272.7273   1.499250375
       Jan-17           966            3058.18%         175636.3636   1.035196687
        Jul-17        2,467            1136.64%         448545.4545   0.405350628
       Jan-18        13,803             121.02%         2509636.364   0.072448019
        Jul-18        6,406             376.24%         1164727.273   0.156103653
       Jan-19         3,697             725.21%         672181.8182   0.270489586
        Jul-19       10,729             184.35%         1950727.273   0.093205331
       Jan-20         7,161             326.03%             1302000   0.139645301
        Jul-20        9,140             233.79%         1661818.182    0.10940919
       Jan-21        28,955               5.36%         5264545.455    0.03453635
        Jul-21       35,031             -12.91%         6369272.727   0.028546145
       Jan-22        46,215             -33.99%         8402727.273   0.021637996
        Jul-22       19,950              52.92%         3627272.727   0.050125313
       Jan-23        17,313              76.21%         3147818.182   0.057760065
        Jul-23       30,508                   0         5546909.091   0.032778288
